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Timothy Burke
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Education

Bachelor of Science in Journalism
E.W. Scripps School of Journalism, Ohio University

Work Experience

News Director, NCTV5 News, Napoleon, OH
News Reporter, WNDH Radio, Napoleon, OH
News Reporter, WONW Radio, Napoleon, OH
News Reporter, WOUB Radio, Athens, OH
Video/Assignment Editor, Sportsgrid
Video/Assignment Editor, Deadspin/Gawker
Director of Video, The Daily Beast
Freelancer, Creative Loafing Tampa
Freelancer, The Washington Post

Contract editor, Recount Media

Contract editor, Courier Newsroom

Contract editor, Copper Courier

Contract editor, Floricua

Contract editor, Dogwood News

Coniract editor, The Keystone

Contract Editor, Up North News

Contract Editor, The Heartland Signal
Contract Editor, Cardinal & Pine

Contract Editor, The ‘Gander

As Subject:

2013, October 22. “A Life on a Loop.” Sarah Lyell, New York Times, B11.

2013, January 18. “How a St. Pete man discovered the hoax.” Greg Auman, Tampa Bay Times, T93.

2018, April 4. “Deadspin video illustrates Sinclair stations’ messaging.” David Bauder, Associated
Press.

2013, June 21. “Goal songs and great announcers.” Peter Couture, Tampa Bay Times, 77.

2013, April 3. “TV news anchors forced to read scripted remarks.” The Akron Beacon Journal, A1.

2013, January 18. “Hoax story began with email tip.” James B. Kelleher, Reuters.

2020, April 5. Backstory. ESPN Films.

2020, August 16. Untold: The Girlfriend Who Didn’t Exist. Netflix.

Selected Publications:

2013, January 15. “Manti Te'o's Dead Girlfriend, The Most Heartbreaking And Inspirational Story Of
The College Football Season, Is A Hoax.” Deadspin.
Finalist: John M. Higgins Award for Best In-Depth/Enterprise Reporting, Newhouse
School at Syracuse University Mirror Awards.
2018, March 31. “How America's Largest Local TV Owner Turned Its News Anchors Into Soldiers In
Trump's War On The Media.” Deadspin.
Finalist: ASME National Magazine Award.
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2024, March 1. “Tampa Bay needs a robust system of public support for the arts.” Creative Loafing
Tampa.

2023, August 25. “How to watch every college football game on TV (and what it costs).” Washington
Post.

2021, October 12. “The radio station that hosts the Tampa Bay Lightning is also home to loads of
vaccine and COVID-19 falsehoods.” Creative Loafing Tampa.

2019, April 11. “All the Times Trump Has Mentioned WikiLeaks, Which He Now Claims to ‘Know
Nothing About’.” The Daily Beast.

2019, March 26. “Fox Pundits Spent Months Questioning Mueller’s Trustworthiness. Now They’re
Taking His Word as Gospel.” The Daily Beast.

2019, March 18. “TruNews Thinks Anti-Semitic ‘Protocols of the Elders of Zion’ Hoax Was ‘Eerily
Correct’.” The Daily Beast.

2018, September 5. “Mr. Carlson’s Electronics YouTube Makes Every Problem Seem Manageable.”
The Outline.

2018, July 5. “On The Origins, Use, And Meaning Of ‘Ass In The Jackpot’.” Deadspin.

2018, June 8. “Trump Thinking "Very Seriously" About Pardoning Muhammad Ali, Who Has No
Criminal Record.” Deadspin.

2018, June 5. “Trump Unable To Remember Words To "God Bless America" At Performance
Commissioned To Prove His Patriotism.” Deadspin.

2018, February 26. “NBC Only Aired 60% Of The Winter Games Closing Ceremony Last Night, So
Here's The 40% You Missed.” Deadspin.

2018, February 19. “Rehearsal Footage Shows Fergie Unsure About "Star-Spangled Banner"
Rendition Before Disastrous Performance.” Deadspin.

2017, January 1. “Mariah Carey Melts Down At Times Square New Year's Eve Performance.”
Deadspin.

2016, September 13. “Why Was Mitch Williams Fired From MLB Network? Why Is He Suing His
Former Employer?” Deadspin.

2016, August 13. “This Is Why There Are So Many Ties In Swimming.” Deadspin.

2016, August 6. “Kip Keino's Emotional Speech And Everything Else NBC Edited Out Of Its Opening
Ceremony Broadcast.” Deadspin.

2014, October 27. “World Series National Anthem Botched By That Asshole From Staind.” Deadspin.

2013, August12. “The Long Con: How The Manziels Conquered America.” Deadspin.

2013, January 16. “Here's Everything The Media Screwed Up In Reporting The Story Of Manti Te'o's
Fake Dead Girlfriend.” Deadspin.

2012, November 21. “Mitch Albom Was ‘Phony Sweet’ And Other Highlights Of PTI's Accidentally
Released Behind-The-Scenes Audio.” Deadspin.

2012, August 13. “NBC Cut Nearly An Hour From Its Closing Ceremony Telecast. Here's Everything
They Didn't Show You (Including The Kinks’ Ray Davies).” Deadspin.

2012, July 28. “Here's The Opening Ceremony Tribute To Terrorism Victims NBC Doesn't Want You
To See.” Deadspin.

2012, February 20. “Here’s the Canadiens’ Gary Carter Tribute That Didn’t Air In The United States.”
Deadspin.

2011, August 18. “VIDEO: Georgetown Basketball Team Brawls In China.” SportsGrid.
